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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

      v.
                                                      Criminal Action No. 1:21-cr-00189 (CJN)
RICHARD L. HARRIS,

               Defendant.


                                    SCHEDULING ORDER

       Trial is set begin in this matter on September 26, 2022, at 9:00 a.m. in Courtroom 19. Jury

selection will begin that day at 9:00 a.m., and will be conducted in accordance with Appendix 8

of the Continuity of Operations Plan for COVID-19, assuming that Appendix 8 remains in force.

The following deadlines shall govern pretrial proceedings:

       1.      The Parties shall file any motions to dismiss the indictment or other motions to

               exclude evidence by June 17, 2022. Oppositions to any such motion shall be filed

               by July 8, 2022. Any reply shall be filed by July 19, 2022.

       2.      The Parties shall file any pretrial motions (including motions in limine) on or before

               August 28, 2022. Oppositions to pretrial motions (including motions in limine)

               shall be filed by September 9, 2022. Any reply shall be filed by September 16,

               2022.

       3.      The United States shall notify Defendant of its intention to introduce any Rule

               404(b) evidence not already disclosed by September 16, 2022.

       4.      The United States should endeavor to make grand jury and Jencks Act disclosures

               as to each witness it expects to call in its case-in-chief by September 16, 2022.

               Any Brady materials not already disclosed must be disclosed by this date.



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5.      The Parties shall also file with the Court, no later than September 19, 2022, a Joint

        Pretrial Statement that contains:

        A.     A neutral statement of the case. The Parties shall include a neutral statement

               of the case for the Court to read to prospective jurors.

        B.     Proposed voir dire questions. The Parties shall indicate:

               1.      the voir dire questions on which the parties agree; and

               2.      the voir dire questions on which the parties disagree, with specific

                       objections noted below each disputed question.

        C.     Proposed jury instructions. The Parties shall submit a list of proposed jury

               instructions, followed by the text of each proposed instruction, that

               indicates:

               1.      the instructions on which the parties agree, and

               2.      the instructions on which the parties disagree, with specific

                       objections noted below each disputed instruction; and the proposed

                       instruction’s source (e.g., the Red Book, Matthew Bender’s Federal

                       Jury Instructions) or, for modified or new instructions, supporting

                       legal authority (e.g., Joy v. Bell Helicopter Textron, Inc., 999 F.2d

                       549, 556 (D.C. Cir. 1993)).

               Proposed instructions may be updated as needed to reflect the evidence

               presented at trial. Absent a showing of good cause, no other modifications

               will be permitted.




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   D.    List of witnesses. The Parties shall identify the witnesses that each side

         anticipates it may call in its case-in-chief, divided into the following

         categories:

         1.     witnesses who will be called to testify at trial;

         2.     witnesses who may be called to testify at trial; and

         3.     witnesses whose testimony a party will present by deposition or

                other prior testimony, indicating whether the presentation will be by

                transcript or video.

         The Court will read the list of witnesses to the jury during voir dire. In the

         list, each witness name should be accompanied by a brief description of

         each witness’s expected testimony and area of expertise, if applicable,

         followed by specific objections, if any, to each witness.

   E.    Exhibit lists. The Parties shall include a list of trial exhibits (including

         demonstratives, summaries, or other specially prepared exhibits), which

         includes:

         1.     the exhibit number for each document;

         2.     the date of the document;

         3.     a brief description of the document;

         4.     a concise statement of the asserted basis of admissibility; and

         5.     whether there is an objection to admission of the document and, if

                so, a concise statement of the basis for the objections.

         This list, together with numbered premarked copies of the exhibits, should

         be submitted to the Court in a separate binder.




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               F.     Stipulations. The Parties shall submit a draft of all stipulations.

               G.     Proposed verdict form. The Parties shall include a draft verdict form,

                      including any proposed special interrogatories. The draft verdict form

                      should include a date and signature line for the jury foreperson.

       6.      The Court will schedule hearings on any motions filed by the Parties as necessary.

       7.      Counsel shall appear on September 22, 2022, at 10:00 a.m. for a Pretrial

               Conference in Courtroom 19.

       The parties must submit to chambers a printed copy of the Joint Pretrial Statement tabbed

and in a three-ring binder. The parties must submit an electronic copy of all proposed voir dire

questions, jury instructions, and verdict forms in Word format by emailing them to Chambers at

Nichols_Chambers@dcd.uscourts.gov. The jury instructions section must be formatted so that

each individual jury instruction begins on a new page.

       Failure to comply with this Order will be deemed a waiver of all objections to matters

covered by this Order.


DATE: April 21, 2022
                                                             CARL J. NICHOLS
                                                             United States District Judge




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